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                                                               19




                                                    /s/Crystal Herrera




                                         ORDER

       Based on the parties' stipulation [ECF No. 55] and good cause appearing, IT IS HEREBY
ORDERED that THIS ACTION IS DISMISSED with prejudice, each side to bear its own fees and
costs. The Clerk of Court is directed to CLOSE THIS CASE.


                                                  _________________________________
                                                  U.S. District Judge Jennifer A. Dorsey
                                                  Dated: October 19, 2020
